                            UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF WISCONSIN
                                 GREEN BAY DIVISION


ERIC EHMANN
on behalf of himself and all
others similarly situated,                                   Case No. 16-CV-247

               Plaintiff,                                    CLASS AND COLLECTIVE
                                                             ACTION COMPLAINT
       v.                                                    PURSUANT TO 29 U.S.C. §216(b)
                                                             AND FED. R. CIV. P. 23
PIERCE MANUFACTURING, INC.,
a Domestic Corporation                                       JURY TRIAL DEMANDED

                Defendant.


                                          COMPLAINT


                                PRELIMINARY STATEMENT

       1.      This is a collective and class action brought pursuant to the Fair Labor Standards

Act of 1938, as amended, (“FLSA”), and Wisconsin’s Wage Payment and Collection Laws, Wis.

Stat. § 109.01 et seq., Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code

§ DWD 274.01 et seq., and Wis. Admin. Code § DWD 272.001 et seq. (“WWPCL”) and Fed. R.

Civ. P. 23, by Plaintiff, Eric Ehmann, on behalf of himself and all other similarly situated current

and former non-exempt Production employees of Defendant, Pierce Manufacturing, Inc., for

purposes of obtaining relief under the FLSA and WWPCL for unpaid overtime compensation,

unpaid agreed upon wages, liquidated damages, costs, attorneys’ fees, declaratory and/or

injunctive relief, and/or any such other relief the Court may deem appropriate.




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       2.        Defendant, Pierce Manufacturing, Inc., is an Appleton, Wisconsin corporation

that creates and manufactures fire truck parts and provides fire truck services throughout the

United States.

       3.        Defendant operated an unlawful compensation system that deprived current and

former non-exempt Production employees of their wages earned for all compensable work time,

including the requisite overtime pay premium for each hour worked over forty (40) hours in a

workweek. Specifically, Defendant’s unlawful policies include impermissibly shaving time from

its Production employees’ timesheets by deducting and/or failing to count at least ten (10)

minutes of compensable time per work day. As a result, every workweek Plaintiff and all others

similarly situated had at least fifty (50) minutes of compensable time impermissibly deducted

that should have been compensated at an overtime premium rate of one and one-half times that

employee’s regular hourly rate.

       4.        Defendant’s deliberate failure to properly compensate its employees for these

hours worked violates federal law as set forth in the FLSA and state law as set forth in the

WWPCL.

                                  JURISDICTION AND VENUE

       5.        This Court has original federal question jurisdiction under 28 U.S.C. § 1331

because this case is brought under the FLSA, 29 U.S.C. §§ 201, et seq.

       6.        This Court has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over the

state law claims, Wisconsin’s Wage Payment and Collection Laws, Wis. Stat. § 109.01 et seq.,

Wis. Stat. § 104.01 et seq., Wis. Stat. § 103.001 et seq., Wis. Admin. Code § DWD 274.01 et

seq., and Wis. Admin. Code § DWD 272.001 et seq., because they are so related in this action




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within such original jurisdiction that they form part of the same case or controversy under Article

III of the United States Constitution.

       7.      Venue in this district is proper pursuant to 28 U.S.C. § 1391(b) and (c), because a

substantial part of the events or omissions giving rise to the claims occurred in this District, and

Defendant has substantial and systematic contacts in this District.

                                            PARTIES

       8.      Defendant is a Wisconsin corporation with a principal place of business of 2600

American Drive, Appleton, Wisconsin 54915.

       9.      Defendant’s registered agent for service of process in the State of Wisconsin is C

T Corporation System, located at 8029 Excelsior Drive, Suite 200, Madison, Wisconsin 53717.

       10.     For purposes of the FLSA, Defendant is an “employer” of an “employee,”

Plaintiff, as those terms are used in 29 U.S.C. §§ 203(d) and (e).

       11.     For purposes of the FLSA, Defendant is an “employer” of Plaintiff, and Plaintiff

is “employed” by Defendant, as those terms or variations thereof are used in Wis. Stat. §§ 109.01

et seq., 103.01 et seq., 104.01 et seq., and Wis. Admin. Code § DWD 272.01.

       12.     Plaintiff, Eric Ehmann, is an adult male resident of the State of Wisconsin who

resides in Appleton, Wisconsin. Plaintiff’s Notice of Consent to Join this collective action

pursuant to 29 U.S.C. § 216(b) has been contemporaneously filed with the filing of this

Complaint.

       13.     Plaintiff has worked as a non-exempt, hourly Production employee in an

Assembler position at Defendant within the last three years from the date of filing of this

Complaint.




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        14.      Plaintiff brings this action on behalf of himself and all other similarly situated

employees of Defendant. Plaintiff performed similar job duties as other non-exempt Production

employees employed by Defendant and who were subjected to Defendant’s same unlawful

policies as enumerated herein.

        15.      Plaintiff and all other Production employees on whose behalf he brings this

Complaint performed compensable work at a physical location in Appleton, Wisconsin owned

and operated by Defendant.

        16.      Defendant supervises Plaintiff’s and all other Production employees’ day-to-day

activities.

        17.      Defendant has the ability and authority to hire, terminate, promote, demote, and

suspend Plaintiff and all other Production employees.

        18.      Defendant has the ability and authority to review Plaintiff’s work performance

and the work performance of all other Production employees.

        19.      Defendant establishes the work rules, policies, and procedures by which Plaintiff

and all other Production employees abide in the workplace.

        20.      Defendant controls the terms and conditions of Plaintiff’s and all other Production

employees’ employment.

        21.      Defendant establishes Plaintiff’s and all other Production employees’ work

schedules and provides Plaintiff and all other Production employees with work assignments and

hours of work.

        22.      Plaintiff’s hours of work and the hours of work of all other Production employees

are tracked and recorded by Defendant.




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                                  GENERAL ALLEGATIONS

          23.   Plaintiff presently works and has worked for Defendant as a non-exempt, hourly-

paid Assembler at Defendant’s Appleton, Wisconsin location within the three years preceding

the filing of this Complaint.

          24.   Non-exempt Production employees of Defendant are employed in various related

positions, including but not limited to Assemblers, Painters, Material Handlers, and Welders, as a

part of Defendant’s manufacturing process of manually producing fire trucks at Defendant’s

Appleton, Wisconsin location.

          25.   On a daily basis, Plaintiff and other non-exempt Production employees of

Defendant, including but not limited to Assemblers, Painters, Material Handlers, and Welders,

have “safety” meetings whereby all aspects of the manufacturing process are covered and

discussed.

          26.   On a daily basis, Plaintiff works alongside other non-exempt Production

employees of Defendant, manually producing fire trucks at Defendant’s Appleton, Wisconsin

location.

          27.   Defendant’s employee handbook as provided to its Production employees, titled,

“Pierce Team Member Handbook – Manufacturing,” contains the terms and conditions of

employment for its Production employees.

          28.   Pursuant to Defendant’s handbook and policies, all hours worked by Plaintiff and

all other Production employees in excess of forty (40) in a workweek will be compensated at the

rate of one and one-half times the regular hourly rate.

          29.   Defendant’s policies operated to deprive Plaintiff of overtime compensation due

to him.



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       30.     Defendant’s policies operated to deprive its Production employees of overtime

compensation due to them.

       31.     During weeks when no overtime was due, if ever, Defendant suffered or permitted

Plaintiff and all other Production employees to work without being paid appropriate

compensation for each hour worked.

       32.     Defendant’s work schedules reflect the start times and end times of a shift,

including the length or duration (in hours) of the shift.

       33.     Defendant requires Plaintiff and all other Production employees to record time

worked at the start and at the end of a shift by scanning an identification badge, which has a

unique identification for every employee, including Plaintiff.

       34.     All non-exempt Production employees at Defendant have a unique Employee

Number and a unique Identification Badge Number for timekeeping and/or recordkeeping

purposes.

       35.     Once Plaintiff records his time worked at the start and at the end of his shift by

scanning his identification badge, the information is stored by Defendant’s electronic

timekeeping system, “Kronos.”

       36.     Defendant’s electronic timekeeping system (Kronos) records Plaintiff’s time

“clocked in” and “clocked out.”

       37.     Plaintiff is subject to the same timekeeping policies as all other non-exempt

Production employees working at Defendant.

       38.     All non-exempt Production employees at Defendant use the same electronic

timekeeping system (Kronos) to track or record hours worked and to “clock in” and “clock out.”




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       39.     Immediately after scanning his identification badge, or “clocking in,” at the

beginning of each shift, Plaintiff performs compensable work.

       40.     Immediately prior to scanning his identification badge, or “clocking out,” at the

end of each shift, Plaintiff performs compensable work.

       41.     Plaintiff’s identification badge and Defendant’s electronic timekeeping system

(Kronos) accurately records Plaintiff’s time “clocked in” and “clocked out.”

       42.     Plaintiff’s identification badge and Defendant’s electronic timekeeping system

(Kronos) accurately records Plaintiff’s time worked at Defendant.

       43.     Despite having this detailed record of time actually worked by Plaintiff,

Defendant did not compensate Plaintiff for all hours actually worked.

       44.     Defendant’s policy in practice was to have non-exempt Production employees like

Plaintiff take a ten (10) minute break during approximately the first half of their shift, and then to

take a twenty (20) minute break during approximately the second half of their shift. These are

paid breaks.

       45.     Plaintiff customarily or normally worked a nine (9) hour and ten (10) minute shift

at Defendant from Monday through Thursday (from 4:15 a.m. to 1:25 p.m.) of each week, and he

customarily or normally worked an eight (8) hour and ten (10) minute shift at Defendant on

Friday (from 4:15 a.m. to 12:25 p.m.) of each week.

       46.     Plaintiff customarily or normally worked a forty-four (44) hour and fifty (50)

minute workweek at Defendant.

       47.     Defendant’s policy in practice was to compensate Plaintiff for only forty-four (44)

hours worked each workweek.




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       48.    Defendant was or should have been aware that Plaintiff was working a forty-four

(44) hour and fifty (50) minute workweek, but compensated Plaintiff for only forty-four (44)

hours worked each workweek.

       49.    Defendant’s policy in practice failed to compensate non-exempt Production

employees like Plaintiff for all hours worked each workweek.

       50.    Defendant’s policy in practice failed to compensate non-exempt Production

employees like Plaintiff for fifty (50) minutes of compensable work each workweek.

       51.    Defendant was or should have been aware of its failure to compensate non-

exempt Production employees like Plaintiff for fifty (50) minutes of compensable work each

workweek.

       52.    Defendant’s unlawful pay practice described above results in excessive and

unlawful time shaving: non-exempt Production employees like Plaintiff are not compensated for

all compensable work performed during every workweek.

       53.    Plaintiff has worked in excess of forty (40) hours per week nearly every week he

has been employed by Defendant.

       54.    As a result of Defendant’s policy and practice described above, Plaintiff did not

receive overtime compensation for approximately fifty (50) minutes per workweek.

       55.    On January 21, 2016, Defendant issued a written memorandum to “F&E Appleton

Production Team Members,” which was titled “Cost of Living Adjustment and Operational

Improvements,” stating, among other things, that as of February 21, 2016, “We will be working

straight 8, 10 and 12 hour shifts. All break periods will be paid breaks. This will shorten many

shifts by at least 10 minutes…” A true and correct copy is attached hereto as Exhibit A.




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               COLLECTIVE ACTION ALLEGATIONS UNDER THE FLSA

       56.     Plaintiff brings this action on behalf of himself and all other similarly situated

employees as authorized under the FLSA, 29 U.S.C. § 216(b). The similarly situated employees

include:

               FLSA Collective Class: All persons who are or have been
               employed by Defendant as a non-exempt Production employee,
               including but not limited to Assemblers, Painters, Material
               Handlers, and Welders, within three years prior to this action’s
               filing date and have not been compensated for all hours worked in
               excess of forty hours in a workweek as a result of impermissible
               time shaving by Defendant.

       57.     Defendant, as a matter of policy and practice, did not compensate its employees

for all hours of compensable work performed by the FLSA Collective Class during a workweek.

       58.     These practices resulted in Plaintiff and the FLSA Collective Class being denied

overtime compensation by Defendant at the rate of one and one-half times their regular hourly

rate of pay for hours worked in excess of forty (40) in a workweek.

       59.     Defendant suffered or permitted Plaintiff and the FLSA Collective Class to

perform work during the workweek without proper compensation for all hours of work. The

effect of such a practice was for Defendant to deny the FLSA Collective Class their agreed upon

wage, including overtime compensation at one and one-half times the regular rate, for the hours

worked that were not counted as work.

       60.     The First Claim for Relief is brought under and maintained as an opt-in Collective

Action pursuant to § 216(b) of the FLSA, 29 U.S.C. 216(b), by Plaintiff on behalf of the FLSA

Collective Class.

       61.     The FLSA Collective Class claims may be pursued by those who affirmatively

opt in to this case, pursuant to 29 U.S.C. § 216(b).



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       62.      Upon information and belief, Plaintiff and the FLSA Collective Class are and

have been similarly situated, have and have had substantially similar job requirements and pay

provisions, and are and have been subject to Defendant’s decisions, policies, plans and programs,

practices, procedures, protocols, routines, and rules willfully failing and refusing to compensate

them for each hour worked including overtime compensation. The claims of Plaintiff stated

herein are the same as those of the FLSA Collective Class.

       63.      Plaintiff and the FLSA Collective Class seek relief on a collective basis

challenging, among other FLSA violations, Defendant’s practice of failing to properly and

lawfully compensate employees for all hours worked including overtime compensation.

       64.      The FLSA Collective Class is readily ascertainable. For purpose of notice and

other purposes related to this action, the names, phone numbers, and addresses are readily

available from Defendant. Notice can be provided to the FLSA Collective Class via first class

mail to the last address known by Defendant and through posting at Defendant’s facility in areas

where postings are normally made.

       65.      Defendant’s conduct, as set forth in this Complaint, was willful and in bad faith,

and has caused significant damages to Plaintiff and the putative FLSA Collective Class.

                      RULE 23 CLASS ALLEGATIONS - WISCONSIN

       66.      Plaintiff brings this action on behalf of himself and all other similarly situated

employees pursuant to the WWPCL, under Fed. R. Civ. P. 23. The similarly situated employees

include:

                Wisconsin Class: All persons who are or have been employed by
                Defendant as a non-exempt Production employee, including but
                not limited to Assemblers, Painters, Material Handlers, and
                Welders, within two years prior to this action’s filing date and have
                not been compensated for all hours of work at his or her agreed
                upon rate of pay, including overtime compensation for hours

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               worked in excess of forty hours in a workweek, as a result of
               impermissible and unlawful time shaving by Defendant.

       67.     The Wisconsin Class members are readily ascertainable. The number and identity

of the Wisconsin Class members are determinable from the records of Defendant. The job titles,

length of employment, and the rates of pay for each Wisconsin Class member are also

determinable from Defendant’s records. For purposes of notice and other purposes related to this

action, their names and addresses are readily available from Defendant. Notice can be provided

by means permissible under Fed. R. Civ. P. 23.

       68.     The proposed Wisconsin Class is so numerous that joinder of all members is

impracticable, and more importantly the disposition of their claims as a class will benefit the

parties and the Court. Although the precise number of such persons is unknown, upon

information and belief, there are approximately one thousand (1,000) to fifteen hundred (1,500)

members of the Wisconsin Class.

       69.     Plaintiff’s claims are typical of those claims which could be alleged by any

member of the Wisconsin Class, and the relief sought is typical of the relief which would be

sought by each member of the Wisconsin Class in separate actions. All the Wisconsin Class

members were subject to the same corporate practices of Defendant, as alleged herein.

Defendant’s corporate-wide policies and practices affected all Wisconsin Class members

similarly, and Defendant benefited from the same type of unfair and/or wrongful acts as to each

Wisconsin Class member. Plaintiff and other Wisconsin Class members sustained similar losses,

injuries and damages arising from the same unlawful policies, practices and procedures.

       70.     Plaintiff is able to fairly and adequately protect the interests of the Wisconsin

Class and has no interests antagonistic to the Wisconsin Class. Plaintiff is represented by counsel




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who are experienced and competent in both collective/class action litigation and employment

litigation and have previously represented plaintiffs in wage and hour cases.

          71.   A class action is superior to other available methods for the fair and efficient

adjudication of the controversy – particularly in the context of wage and hour litigation where

individual class members lack the financial resources to vigorously prosecute a lawsuit against

corporate defendants. Class action treatment will permit a number of similarly-situated persons

to prosecute their common claims in a single forum simultaneously, efficiently, and without the

unnecessary duplication of efforts and expense that numerous individual actions engender.

Because the losses, injuries and damages suffered by each of the individual Wisconsin Class

members are small in the sense pertinent to a class action analysis, the expenses and burden of

individual litigation would make it extremely difficult or impossible for the individual Wisconsin

Class members to redress the wrongs done to them.

          72.   Important public interests will be served by addressing the matter as a class

action. The adjudication of individual litigation claims would result in a great expenditure of

Court and public resources; however, treating the claims as a class action would result in a

significant saving of these costs. The prosecution of separate actions by individual members of

the Wisconsin Class would create a risk of inconsistent and/or varying adjudications with respect

to the individual members of the Wisconsin Class, establishing incompatible standards of

conduct for Defendant and resulting in the impairment of class members’ rights and the

disposition of their interests through actions to which they were not parties. The issues in this

action can be decided by means of common, class-wide proof. In addition, if appropriate, the

Court can, and is empowered to, fashion methods to efficiently manage this action as a class

action.



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       73.      Defendant has violated the WWPCL regarding payment of wages and overtime

premium wages. Current employees are often afraid to assert their rights out of fear of direct or

indirect retaliation. Former employees are fearful of bringing claims because doing so can harm

their employment, future employment, and future efforts to secure employment. Class actions

provide class members who are not named in the Complaint a degree of anonymity which allows

for the vindication of their rights while eliminating or reducing these risks.

       74.      There are questions of fact and law common to the Wisconsin Class that

predominate over any questions affecting only individual members. The questions of law and

fact common to the Wisconsin Class arising from Defendant’s actions include, without

limitation, the following:

             a) Whether the work performed by Plaintiff and the Wisconsin Class is compensable
                under federal law and/or Wisconsin law;

             b) Whether Defendant engaged in a pattern or practice of forcing, coercing,
                deceiving and/or permitting Plaintiff and the Wisconsin Class to perform work for
                Defendant’s benefit without being properly compensated;

             c) Whether Defendant failed to pay the Wisconsin Class for all work Defendant
                suffered or permitted them to perform by use of illegal time shaving; and

             d) The nature and extent of class-wide injury and the measure of damages for the
                injury.

       75.      The questions set forth above predominate over any questions affecting only

individual persons, and a class action is superior with respect to considerations of consistency,

economy, efficiency, fairness and equity, to other available methods for the fair and efficient

adjudication of the state law claims.




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                                FIRST CLAIM FOR RELIEF
               Violation of the Fair Labor Standards Act of 1938, as Amended
                (Plaintiff on behalf of himself and the FLSA Collective Class)

       76.     Plaintiff, on behalf of himself and the FLSA Collective Class, reasserts and

incorporates by reference all paragraphs set forth above as if restated herein.

       77.     At all times material herein, Plaintiff and the FLSA Collective Class have been

entitled to the rights, protections, and benefits provided under the FLSA, 29 U.S.C. § 201 et seq.

       78.     At all times material herein, Defendant was an employer of Plaintiff and the

FLSA Collective Class as provided under the FLSA.

       79.     At all times material herein, Plaintiff and the FLSA Collective class were

employees of Defendant as provided under the FLSA.

       80.     Plaintiff and the FLSA Collective Class are victims of uniform and facility-wide

compensation policy and practice in violation of the FLSA.

       81.     Defendant violated the FLSA by failing to account for and compensate Plaintiff

and the FLSA Collective Class for overtime premium pay for each hour he/she worked in excess

of forty (40) hours each workweek.

       82.     Defendant suffered or permitted Plaintiff and the FLSA Collective Class to

perform work without being properly or lawfully compensated for each hour worked. The effect

of such a practice was for Defendant to deny Plaintiff and the FLSA Collective Class their

agreed upon wage for the hours worked that were not counted as work, including overtime wages

for hours worked in excess of forty (40) in a workweek.

       83.     The FLSA regulates, among other things, the payment of an overtime premium by

employers whose employees are engaged in commerce, or engaged in the production of goods




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for commerce, or employed in an enterprise engaged in commerce or in the production of goods

for commerce. 29 U.S.C. § 207(a)(1).

       84.     Defendant was and is subject to the overtime pay requirements of the FLSA

because Defendant is an enterprise engaged in commerce and/or its employees are engaged in

commerce, as defined in FLSA, 29 U.S.C. §203(b).

       85.     Defendant’s failure to properly compensate Plaintiff and the FLSA Collective

Class and failure to properly record all compensable work time was willfully perpetrated.

Defendant has not acted in good faith nor with reasonable grounds to believe its actions and

omissions were not a violation of the FLSA, and as a result thereof, Plaintiff and the FLSA

Collective Class are entitled to recover an award of liquidated damages in an amount equal to the

amount of unpaid overtime premium pay described above pursuant to Section 216(b) of the

FLSA, 29 U.S.C. § 216(b). Alternatively, should the Court find that Defendant did not act

willfully in failing to pay overtime premium pay wages, Plaintiff and the FLSA Collective Class

are entitled to an award of pre-judgment interest at the applicable legal rate.

       86.     As a result of the aforesaid willful violations of the FLSA’s provisions, overtime

compensation has been unlawfully withheld by Defendant from Plaintiff and the FLSA

Collective Class for which Defendant is liable pursuant to 29 U.S.C. § 216(b).

       87.     Plaintiff and the FLSA Collective Class are entitled to damages equal to the

mandated overtime premium pay within the three years preceding the date of filing of this

Complaint, plus periods of equitable tolling because Defendant acted willfully and knew or

showed reckless disregard of whether its conduct was prohibited by the FLSA.




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       88.     Pursuant to FLSA, 29 U.S.C. § 216(b), successful plaintiffs are entitled to

reimbursement of the costs and attorneys’ fees expended in successfully prosecuting an action

for unpaid wages and overtime wages.

                                SECOND CLAIM FOR RELIEF
                           Violation of WWPCL – Unpaid Overtime
                    (Plaintiff on behalf of himself and the Wisconsin Class)

       89.     Plaintiff, on behalf of himself and the Wisconsin Class, re-alleges and

incorporates all previous paragraphs as if they were set forth herein.

       90.     At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. § 109.01(1r).

       91.     At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. § 103.001(5).

       92.     At all relevant times, Plaintiff and the Wisconsin Class were employees of

Defendant within the meaning of Wis. Stat. § 104.01(2)(a).

       93.     At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. § 109.01(2).

       94.     At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. § 103.001(6).

       95.     At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Stat. § 104.01(3)(a).

       96.     At all relevant times, Defendant was an employer of Plaintiff and the Wisconsin

Class within the meaning of Wis. Admin. Code § DWD 272.01(5).




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         97.    At all relevant times, Defendant has employed, and continues to employ, Plaintiff

and the Wisconsin Class within the meaning of Wis. Stat. §§ 109.01 et seq., 103.01 et seq.,

104.01 et seq., and Wis. Admin. Code § DWD 272.01.

         98.    Throughout the Wisconsin Class Period, Plaintiff and the Wisconsin Class

regularly performed activities that were an integral and indispensable part of his or her principal

activities without receiving compensation for these activities.

         99.    At all relevant times, Defendant had common policies, programs, practices,

procedures, protocols, routines, and rules of willfully failing to properly pay Plaintiff and the

Wisconsin Class overtime compensation.

         100.   The foregoing conduct, as alleged above, constitutes continuing, willful violations

of the Wisconsin Wage Payment and Collection Laws.

         101.   Defendant willfully failed to pay Plaintiff and the Wisconsin Class overtime

premium compensation for all hours worked in excess of forty (40) hours a week, in violation of

Wisconsin Wage Payment Laws.

         102.   As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff and the Wisconsin Class seek damages in the amount of their respective unpaid

compensation, injunctive relief requiring Defendant to cease and desist from its violations of the

Wisconsin laws described herein and to comply with them, and such other legal and equitable

relief as the Court deems just and proper. Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin

Class may be entitled to liquidated damages equal and up to fifty percent (50%) of the unpaid

wages.




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       103.    Plaintiff and the Wisconsin Class seek recovery of attorneys’ fees and the costs of

this action to be paid by Defendant pursuant to the WWPCL.

                                 THIRD CLAIM FOR RELIEF
                        WWPCL - Failure To Pay Agreed Upon Wage
                    (Plaintiff on behalf of himself and the Wisconsin Class)

       104.    Plaintiff, on behalf of himself and the Wisconsin Class, re-alleges and

incorporates all previous paragraphs as if they were set forth herein.

       105.    Plaintiff and the Wisconsin Class have been entitled payment from Defendant at

the agreed upon wage, as defined in Wis. Stat. § 109.01(3), for each hour worked by Plaintiff and

the Wisconsin Class pursuant to Wis. Stat. § 109.03.

       106.    Defendant violated the WWPCL by failing to properly compensate Plaintiff and

the Wisconsin Class for each hour worked by Plaintiff and the Wisconsin Class through the

impermissible time shaving policies described above.

       107.    As set forth above, Plaintiff and the Wisconsin Class members have sustained

losses in their compensation as a proximate result of Defendant’s violations. Accordingly,

Plaintiff, on behalf of himself and the Wisconsin Class, seeks damages in the amount of Plaintiff

and the Wisconsin Class members’ respective unpaid compensation, injunctive relief requiring

Defendant to cease and desist from their violations of the Wisconsin laws described herein and to

comply with them, and such other legal and equitable relief as the Court deems just and proper.

Under Wis. Stat. § 109.11, Plaintiff and the Wisconsin Class may be entitled to liquidated

damages equal and up to fifty percent (50%) of the unpaid wages.

       108.    Plaintiff, on behalf of himself and the Wisconsin Class, seeks recovery of

attorneys’ fees and the costs of this action to be paid by Defendant pursuant to Wisconsin Wage

Payment Laws.



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WHEREFORE, it is respectfully prayed that this Court grant the following relief:

   a) At the earliest possible time, issue an Order allowing Notice, or issue such Court
      supervised Notice, to all similarly-situated current and former hourly Production
      employees informing them of this action and their rights to participate in this
      action and including such future employees who may commence employment
      during the pendency of this action. Such Notice shall inform all similarly-situated
      current and qualified former employees of the pendency of this action, the nature
      of this action, and of their right to “opt in” to this action. Additionally, such notice
      will include a statement informing the similarly-situated current, future, and
      qualified former employees that it is illegal for Defendant to take any actions in
      retaliation of their consent to join this action;

   b) At the earliest possible time, issue an Order certifying this action as a class action
      pursuant to Federal Rules of Civil Procedure 23;

   c) At the earliest possible time, issue an Order appointing Walcheske & Luzi, LLC
      as class counsel pursuant to Federal Rules of Civil Procedure 23;

   d) Issue an Order, pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201-
      2202, declaring Defendant’s actions as described in the Complaint as unlawful
      and in violation of the FLSA and Wisconsin Law and applicable regulations and
      as willful as defined in the FLSA and Wisconsin Law;

   e) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
      similarly-situated Production employees damages in the form of reimbursement
      for unpaid overtime wages for all time spent performing compensable work for
      which they were not paid pursuant to the rate provided by the FLSA and
      WWPCL;

   f) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
      similarly-situated Production employees damages in the form of reimbursement
      for unpaid agreed upon wages for all time spent performing compensable work
      for which they were not paid pursuant to the rate provided by the FLSA and
      WWPCL;

   g) Issue an Order directing and requiring Defendant to pay Plaintiff and all other
      similarly-situated Production employees liquidated damages pursuant to the
      FLSA and WWPCL in an amount equal to, and in addition to the amount of
      wages and overtime wages owed to them;

   h) Issue an Order directing Defendant to reimburse Plaintiff and all other similarly-
      situated Production employees for the costs and attorneys’ fees expended in the
      course of litigating this action, pre-judgment and post-judgment interest; and




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          i) Provide Plaintiff and all other similarly-situated Production employees with such
             other and further relief, as the Court deems just and equitable.

            PLAINTIFF DEMANDS A JURY AS TO ALL TRIABLE ISSUES.

             Dated this 29th day of February, 2016.


                                                  WALCHESKE & LUZI, LLC
                                                  Counsel for Plaintiff


                                                  s/ James A. Walcheske                      .




                                                  James A. Walcheske, State Bar No. 1065635
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